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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

PATRICIA KENNEDY, Individually,          :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :              Case No.
                                         :
KOURSAROS, LLC, d/b/a SIZZLING GRILL & :
JOHN B. HAZAKIS,                         :
                                         :
            Defendants.                  :
_______________________________________/ :
                                         :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

KOURSAROS, LLC, d/b/a SIZZLING GRILL & JOHN B. HAZAKIS, (sometimes referred to

as “Defendants”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.              Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies

               as an individual with disabilities as defined by the ADA. Plaintiff is unable to

               engage in the major life Plaintiff is unable to engage in the major life activity of

               walking more than a few steps without assistive devices. Instead, Plaintiff is

               bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. When ambulating beyond the comfort of her own home, Plaintiff must
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          primarily rely on a wheelchair. Plaintiff requires accessible handicap parking

          spaces located closest to the entrances of a facility. The handicap and access

          aisles must be of sufficient width so that she can embark and disembark from

          a ramp into her vehicle. Routes connecting the handicap spaces and all features,

          goods and services of a facility must be level, properly sloped, sufficiently wide

          and without cracks, holes or other hazards that can pose a danger of tipping,

          catching wheels or falling. These areas must be free of obstructions or unsecured

          carpeting that make passage either more difficult or impossible. Amenities must

          be sufficiently lowered so that Plaintiff can reach them. She has difficulty

          operating door knobs, sink faucets, or other operating mechanisms that tight

          grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

          unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks

          must be at the proper height so that she can put her legs underneath to wash her

          hands. She requires grab bars both behind and beside a commode so that she

          can safely transfer and she has difficulty reaching the flush control if it is on the

          wrong side. She has difficulty getting through doorways if they lack the proper

          clearance. Ms. Kennedy’s access to the Defendant’s property or to the full and

          equal enjoyment of the goods, services, facilities, privileges, advantages and

          accommodations offered therein was restricted or limited because of her

          disabilities, and will be restricted or limited in the future unless and until the

          Defendant is compelled to remove the barriers to access and remedy all ADA

          violations which exist at its property including those set forth in this complaint.
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2.         Defendants own, lease, lease to, or operate a place of public accommodation as

           defined by the ADA and the regulations implementing the ADA, 28 CFR

           36.201(a) and 36.104. The place of public accommodation that the Defendants

           own, operate, lease or lease to is known as Sizzling Grill, and is located in the

           County of Polk.

3.         Venue is properly located in the Middle District of Florida because venue lies in

           the judicial district of the property situs. The Defendants’ property is located in

           and does business within this judicial district.

4.         Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

           original jurisdiction over actions which arise from the Defendants’ violations of

           Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See

           also 28 U.S.C. § 2201 and § 2202.

5.         As the owner, lessor, lessee, or operator of the subject premises, Defendants are

           required to comply with the ADA. To the extent the property, or portions thereof,

           existed prior to January 26, 1993 ("pre-existing facility"), the owner, lessor,

           lessee, or operator has been under a continuing obligation to remove architectural

           barriers at that property whose removal was readily achievable, as required by 42

           U.S.C. Section 12182. To the extent that the property, or portions thereof, were

           constructed prior to January 26, 1993 ("newly constructed facility"), the owner,

           lessor, lessee, or operator was under an obligation to design and construct such

           facilities such that they are readily accessible to and usable by individuals with

           disabilities, as required by 42 U.S.C. Section 12183. To the extent that the
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           facility, or portions thereof, were altered in a manner that affects or could affect

           its usability ("altered facility"), the owner, lessor, lessee, or operator was under

           an obligation to make such alterations in such a manner that, to the maximum

           extent feasible, the altered portions are readily accessible to and usable by persons

           with disabilities.

6.         Pursuant to 28 C.F.R. part 36.404, all newly constructed facilities were required

           to comply with the Standards For New Construction And Alterations, set forth in

           Appendix A to 28 C.F.R. part 36 ("ADAAG"). Pursuant to 28 C.F.R. part 36.404,

           all altered facilities were required to comply with the ADAAG to the maximum

           extent feasible. Pursuant to 28 C.F.R. part 36.304, all measures taken to comply

           with barrier removal requirements of 42 U.S.C. Section 12182 must also comply

           with the ADAAG to the maximum extent feasible. Failure to comply with these

           requirements constitutes a violation of the ADA.

7.         A preliminary inspection of the Sizzling Grill at 21400 US Hwy 27 North, Lake

           Wales, Polk County, Florida has shown that violations exist. These violations

           include, but are not limited to:

           GENERAL

           1. Defendants fail to adhere to a policy, practice and procedure to ensure that all

               goods, services and facilities are readily accessible to and usable by the

               disabled.

           2. Defendants fail to maintain its features to ensure that they are readily

               accessible and usable by the disabled.
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          PARKING/EXTERIOR

          3. The disabled parking space south side of building is non-compliant as there is

             no accessible route to the sidewalk from the access aisle. 2010 ADAAG

             violation: 206, 207, 402, 502.

          4. The disabled parking space south side of building is non-compliant as the curb

             ramp protrudes into the access aisle. 2010 ADAAG violation: 406, 502.

          5. The curb ramp that services the disabled parking space south side of building

             is non-compliant as the slope exceeds max 1:12 (8.33%) slope and has flared

             sides that exceed max 1:10 (10%) slope. 2010 ADAAG violation: 406.

          6. The sidewalk (accessible route) south side of building (that connects the

             disabled parking space with the main east entrance) is non-compliant as the

             cross-slope of the sidewalk exceeds max 1:48 (2.1%) cross-slope.

          7. The maneuvering space on the pull (exterior) side of the main east door is

             non-compliant as the slope exceeds max 1:48 (2.1%) for a depth of 60 inches

             (front approach). 2010 ADAAG violation: 404.



          INTERIOR

          8. The bar for food and beverage consumption is non-compliant as there is no

             lowered accessible section at max 34 inches above floor. 2010 ADAAG

             violation: 902.

          9. The main service counter is non-compliant as there is no lowered accessible

             section at max 36 inches above floor. 2010 ADAAG violation: 904.
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          10. The bar area seating is non-compliant as all bar area seating is high top tables.

             As such, a minimum of 5% of the tables (seating) is not accessible. 2010

             ADAAG violation: 902.

          11. The tables in dining room are non-compliant as a minimum of 5% of the

             tables (seating) is not accessible. 2010 ADAAG violation: 226, 902.

          12. The informational and directional signage is non-compliant as there are

             multiple restrooms and there is currently no signage that directs persons with

             disabilities to the location of the dedicated accessible restrooms. 2010

             ADAAG violation: 216.

          ACCESSIBLE MEN’S RESTROOM

          13. The maneuvering space on the pull (latch) side of the main door is non-

             compliant, as there is not the required 18-inch-wide by 60-inch-deep

             maneuvering space. 2010 ADAAG violation: 404, 603, 604.

          14. The signage at restroom door is not compliant as there is no Braille signage

             that identifies the dedicated accessible restroom. 2010 ADAAG violation:

             703.

          15. The sink is non-compliant as there is not the required knee clearance under the

             sink (as cabinet sink). 2010 ADAAG violation: 606.

          16. The towel and soap dispenser are non-compliant as the height exceeds max 48

             inches above floor. 2010 ADAAG 308, 604.

          17. The accessible stall is non-compliant as the stall door does not provide the

             required maneuvering space on the interior side of door. 2010 ADAAG 604.
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           18. The accessible stall door is non-compliant as the door hardware is non-

              compliant as the height of the lock exceeds max 48 inches above floor. 2010

              ADAAG 308, 604.

           19. The accessible stall door is non-compliant as there is not pull door hardware

              on the exterior side of door. 2010 ADAAG 404, 604.

           20. The accessible stall is non-compliant as the toilet paper dispenser is not below

              the side grab bar and above max 48 inches above floor. 2010 ADAAG 308,

              604.

           21. The coat hook in the accessible stall is non-compliant as the height exceeds

              max 48 inches above floor. 2010 ADAAG 308, 604.

8.         Plaintiff has visited the property which forms the basis of this lawsuit on July 5,

           2019 1md again on July 6, 2019, and plans to return to the property in the near

           future to avail herself of the goods and services offered to the public at the

           property, and to determine whether the property has been made ADA compliant.

           The Plaintiff has encountered barriers at the subject property which discriminate

           against her on the basis of her disability.

9.         In the alternative, Plaintiff is an advocate of the rights of similarly situated

           disabled persons and is a "tester" for the purpose of asserting her civil rights and

           monitoring, ensuring, and determining whether places of public accommodation

           are in compliance with the ADA.

10.        The violations present at Defendants’ facility, create a hazard to Plaintiff's safety.
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11.        Plaintiff is continuously aware of the violations at Defendants’ facility and is

           aware that it would be a futile gesture to return to the property as long as those

           violations exist unless she is willing to suffer additional discrimination.

12.        The violations present at Defendants’ facility infringe Plaintiff's right to travel

           free of discrimination. Plaintiff has suffered, and continues to suffer, frustration

           and humiliation as the result of the discriminatory conditions present at

           Defendants’ facility. By continuing to operate a place of public accommodation

           with discriminatory conditions, Defendants contribute to Plaintiff's sense of

           isolation and segregation and deprives Plaintiff the full and equal enjoyment of

           the goods, services, facilities, privileges and/or accommodations available to the

           general public. By encountering the discriminatory conditions at Defendants’

           facility, and knowing that it would be a futile gesture to return unless she is

           willing to endure additional discrimination, Plaintiff is deprived of the meaningful

           choice of freely visiting the same accommodations readily available to the general

           public and is deterred and discouraged from additional travel. By maintaining a

           public accommodation with violations, Defendants deprive plaintiff the equality

           of opportunity offered to the general public.

13.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a

           result of the Defendants’ discrimination until the Defendants are compelled to

           comply with the requirements of the ADA.

14.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination

           from the Defendants’ non-compliance with the ADA with respect to this property
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           as described but not necessarily limited to the allegations in paragraph 7 of this

           Complaint. Plaintiff has reasonable grounds to believe that she will continue to

           be subjected to discrimination in violation of the ADA by the Defendants.

           Plaintiff desires to visit the Sizzling Grill not only to avail herself of the goods

           and services available at the property but to assure herself that this property is in

           compliance with the ADA so that she and others similarly situated will have full

           and equal enjoyment of the property without fear of discrimination.

15.        The Defendants have discriminated against the Plaintiff by denying her access to,

           and full and equal enjoyment of, the goods, services, facilities, privileges,

           advantages and/or accommodations of the subject property, as prohibited by 42

           U.S.C. § 12182 et seq.

16.        The discriminatory violations described in paragraph 7 are not an exclusive list of

           the Defendants’ ADA violations.         Plaintiff requires the inspection of the

           Defendants’ place of public accommodation in order to photograph and measure

           all of the discriminatory acts violating the ADA and all of the barriers to access.

           The Plaintiff, and all other individuals similarly situated, have been denied access

           to, and have been denied the benefits of services, programs and activities of the

           Defendants’ buildings and its facilities, and have otherwise been discriminated

           against and damaged by the Defendants because of the Defendants’ ADA

           violations, as set forth above. The Plaintiff and all others similarly situated will

           continue to suffer such discrimination, injury and damage without the immediate

           relief provided by the ADA as requested herein.           In order to remedy this
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           discriminatory situation, the Plaintiff requires an inspection of the Defendants’

           place of public accommodation in order to determine all of the areas of non-

           compliance with the Americans with Disabilities Act.

17.        Defendants have discriminated against the Plaintiff by denying her access to full

           and equal enjoyment of the goods, services, facilities, privileges, advantages

           and/or accommodations of its place of public accommodation or commercial

           facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq.

           Furthermore, the Defendants continue to discriminate against the Plaintiff, and all

           those similarly situated by failing to make reasonable modifications in policies,

           practices or procedures, when such modifications are necessary to afford all

           offered goods, services, facilities, privileges, advantages or accommodations to

           individuals with disabilities; and by failing to take such efforts that may be

           necessary to ensure that no individual with a disability is excluded, denied

           services, segregated or otherwise treated differently than other individuals

           because of the absence of auxiliary aids and services.

18.        Plaintiff is without adequate remedy at law and is suffering irreparable harm.

           Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

           fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. §

           12205 and 28 CFR 36.505.

19.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

           Plaintiff Injunctive Relief, including an order to require the Defendants to alter

           the Sizzling Grill to make those facilities readily accessible and useable to the
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             Plaintiff and all other persons with disabilities as defined by the ADA; or by

             closing the facility until such time as the Defendants cure their violations of the

             ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendants at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq..

      b.     Injunctive relief against the Defendants including an order to make all readily

             achievable alterations to the facility; or to make such facility readily accessible to

             and usable by individuals with disabilities to the extent required by the ADA; and

             to require the Defendants to make reasonable modifications in policies, practices

             or procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such stops that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. §

             12205.

      d.     The Court issue all remedies available under 42 U.S.C. Sections 12188 and

             2000a-3(a) including but not limited to preventive relief, permanent or temporary

             injunction, restraining order, or other order, as the Court deems just and proper."
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     e.    Such other relief as the Court deems just and proper, and/or is allowable under

           Title III of the Americans with Disabilities Act.

                  Respectfully Submitted,


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                                         By:/s/ Philip Michael Cullen, III,
